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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF LOUISIANA



DR. DOROTHY NAIRNE, et al.

                                      Plaintiffs,

       v.                                            CIVIL ACTION NO. 3:22-cv-00178
                                                     SDD-SDJ
R. KYLE ARDOIN, in his official capacity as
Secretary of State of Louisiana,                     Chief Judge Shelly D. Dick
                                                     Magistrate Judge Scott D. Johnson
                                      Defendant.




                            DECLARATION OF COLIN BURKE

Pursuant to Local Rule 83(b)(8)(C), I, Colin Burke, declare the following:

  1. I am a member in good standing and am eligible to practice before the courts of the state

      of New York.

  2. I am not currently, nor have I ever been, sanctioned, disciplined, or suspended in any

      jurisdiction in which I have been admitted. I have never been the subject of disciplinary

      actions or grievances by the bar or courts of any jurisdiction. No criminal charges have

      been instituted against me.

  3. A Certificate of Good Standing issued by the Clerk of the Appellate Division of the

      Supreme Court of New York, showing that Mr. Burke has been admitted and is in good

      standing in the state of New York is attached to the Motion for Admission Pro Hac Vice

      as an exhibit.
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4. I DO SOLEMNLY SWEAR that I will conduct myself as an attorney and counselor of

   this Court, uprightly and according to law; and that I will support the Constitution of the

   United States.

                                                  Respectfully submitted,
                                                  /s/ Colin Burke
                                                  Colin Burke
                                                  NY Bar No. 6093488
                                                  NAACP Legal Defense
                                                  & Educational Fund, Inc.
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